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p v M A \ L
UNITED STATES DIS'I`RICT COUR

EAerRN DISTRICT 01= MISSOURI APR 3 9 2995

NORTHERN DIVISION
MW\§?BEL»
51 l.l'.l.lB

Sharon Utterback,
Plaintifl(s),
Case No. 2:04€\/28 JCH

VS.

Trurnan State University, et al,

\_/`/`-J\_/WW\J\_H\_/

Defendant(s).

ALTERNATIVE DISPUTE RESOLUT!ON COMPLIANCE REPORT

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ln accordance with the Court's Order Refem`n Case to ADR, dated¢ , 2005,
l:'r/ An ADR conference was held on: md hat j ' l §

 

 

El/ All required individuals, parties, counsel of record, corporate representatives, and/or
claims professionals attended and participated in the ADR conference in good faith, and each
possessed the requisite settlement authority;

l'_'l The following individuals, parties, counsel ofrecord, corporate representatives and/or
claims professionals failed to appear and/or participate in good faith as ordered:

 

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The ADR referral was concluded on , 2005

and the parties did ij did not] achieve a settlement
Check One

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E Although this case was referred to ADR, a conference WAS NOT HELD.

Comments:

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